            Case 8:20-bk-03608-CPM          Doc 238    Filed 08/05/20   Page 1 of 3




                                      ORDERED.
     Dated: August 04, 2020




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
                                www.flmb.uscourts.gov

In re:
CFRA HOLDINGS, LLC                                    Case No. 8:20-bk-03608-CPM
                                                      Chapter 11

                                                      Jointly Administered with:
CFRA, LLC                                             Case No. 8:20-bk-03609-CPM
CFRA TRI-CITIES, LLC                                  Case No. 8:20-bk-03610-CPM

      Debtors.
______________________________________/

      ORDER AUTHORIZING REJECTION OF CERTAIN UNEXPIRED LEASES

       THIS MATTER came on for hearing on July 30, 2020 upon the Motion (the “Motion”)

[Docket No. 227] of the above-captioned debtors and debtors-in-possession the (“Debtors”) for

entry of an order rejecting the certain unexpired lease listed on Exhibit 1 attached hereto (the

“Lease”). The Court has considered all the pleadings submitted and the arguments of counsel in

support of the Motion. Accordingly, it is

       ORDERED:

       1.       The Motion is GRANTED as set forth herein.
              Case 8:20-bk-03608-CPM        Doc 238     Filed 08/05/20     Page 2 of 3




         2.      The Lease set forth on Exhibit 1 attached hereto is hereby rejected, effective as

of July 30, 2020, to the extent such Lease is an unexpired lease. The Debtors unequivocally

surrender possession of the applicable leased premises upon the effective date of rejection of the

Lease.

         3.      This Order shall not be deemed to be a determination of whether the Lease is an

unexpired lease.

         4.      To the extent the counterparty to the Lease chooses to file a proof of claim

relating to rejection damages, such proof of claim must be filed with the Court on or before any

general deadline to file claims set after conversion of the Debtors’ cases to chapter 7.

         5.      The Debtors’ estates’ rights with respect to any existing defaults of the

counterparty to the Lease, and all defenses and counterclaims to any rejection damages claims,

are hereby preserved.

         6.      The balance of the request for relief in the Motion as to other leases will be set

for hearing in due course after conversion of the Debtors’ cases to chapter 7.

         7.      This Court shall retain jurisdiction over any and all matters arising from the

interpretation or implementation of this Order.


                                              # # #

(Carmen Contreras-Martinez, Esq. is directed to serve a copy of this Order on interested parties
who are non-CM/ECF users and to file a proof of service within three days of entry of this
Order.)




                                                  2
        Case 8:20-bk-03608-CPM    Doc 238    Filed 08/05/20   Page 3 of 3




                                  EXHIBIT 1
                                 Rejected Lease

Landlord                Location                                      Debtor Party
DDR Cotswold, LLC       336 S. Sharon Amity Road,                      CFRA, LLC
                        Charlotte, NC 28211
